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                                                                              United States Bankruptcy Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                          January 31, 2025
                     FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA          §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC,        §
JETALL/CROIX PROPERTIES LP,         §
AND JETALL/CROIX GP, LLC,           §
                                    §
        Defendants.                 §

                     ORDER REFERRING MOTIONS TO COMPEL

       Before the Court is an Emergency Motion to Compel Testimony of Omar Khawaja (ECF

No. 477) and a Second (Renewed) Emergency Motion to Compel Testimony of Omar Khawaja

(ECF No. 482), both filed by Ali Choudhri, seeking to compel the testimony of Omar Khawaja at




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a hearing on Ali Choudhri’s motion to disqualify/recused Judge Jeffrey P. Norman. The hearing

is in front of Judge Eduardo V. Rodriguez, and this Court refers the motion to Judge Rodriguez.

       IT IS THEREFORE ORDERED that the Emergency Motion to Compel Testimony of

Omar Khawaja (ECF No. 477) and the Second (Renewed) Emergency Motion to Compel

Testimony of Omar Khawaja (ECF No. 482) are both referred to Judge Eduardo V. Rodriguez.

       SO ORDERED.

        SIGNED 01/31/2025


                                                   ___________________________________
                                                   Jeffrey Norman
                                                   United States Bankruptcy Judge




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